          Case 7:17-cv-00013 Document 1 Filed on 01/13/17 in TXSD Page 1 of 9



 1
                        UNITED STATES DISTRICT COURT
 2                       SOUTHERN DISTRICT OF TEXAS
 3
                                               §
 4   DONALD WILSON,                            §
 5                                             §    Civil Action No.:
                       Plaintiff,              §
 6
                                               §
 7                     v.                      §
                                               §
 8
     MEDICREDIT, INC.,                         §    JURY TRIAL DEMANDED
 9                                             §
10
                       Defendant.              §
                                               §
11

12                                   COMPLAINT
13
           DONALD WILSON (“Plaintiff”), by and through his attorneys, KIMMEL
14

15
     & SILVERMAN, P.C., allege the following against MEDICREDIT, INC.
16   (“Defendant”):
17

18                                  INTRODUCTION
19
           1.    Plaintiff’s Complaint is based on the Fair Debt Collection Practices
20

21   Act, 15 U.S.C. § 1692 et seq. (“FDCPA”), the Texas Debt Collections Practices
22
     Act, Tex. Fin. Code Ann. § 392.301 et seq. (“TFDCPA”) and the Telephone
23

24
     Consumer Protection Act, 47 U.S.C. § 227 (“TCPA”) et seq.
25

26
                             JURISDICTION AND VENUE
27

28
           2.     Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), which

     states that such actions may be brought and heard before “any appropriate United

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                                    PLAINTIFF’S COMPLAINT
          Case 7:17-cv-00013 Document 1 Filed on 01/13/17 in TXSD Page 2 of 9



 1   States district court without regard to the amount in controversy,” and 28 U.S.C. §
 2
     1331, which grants this court original jurisdiction of all civil actions arising under
 3

 4   the laws of the United States.
 5
           3.     Defendant conducts business in the State of Texas, and as such,
 6

 7   personal jurisdiction is established.
 8
           4.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
 9

10
                                             PARTIES

11         5.     Plaintiff is a natural person who resides in Mission, Texas 78572.
12
           6.     Plaintiff is a “consumer” as that term is defined by 15 U.S.C.
13

14   §1692a(3).
15
           7.     Plaintiff is a “person” as that term is defined by 47 U.S.C. §153(39).
16

17
           8.     Defendant is a national debt collection company with headquarters

18   located at 3 Cityplace Drive, Suite 690, St. Louis, Missouri 63141.
19
           9.     Defendant is a “person” as that term is defined by 47 U.S.C.
20

21   §153(39).
22
           10.    At all relevant times, Defendant acted as a “debt collector” within
23

24   the meaning of 15 U.S.C. § 1692(a)(6) and Tex. Fin. Code Ann. § 392.001(6);
25
     and, Defendant attempted to collect a “debt” as defined by 15 U.S.C. §1692(a)(5)
26
     and Tex. Fin. Code Ann. § 392.001(2).
27

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                                      PLAINTIFF’S COMPLAINT
          Case 7:17-cv-00013 Document 1 Filed on 01/13/17 in TXSD Page 3 of 9



 1         12.    Defendant acted through its agents, employees, officers, members,
 2
     directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
 3

 4   representatives, and insurers.
 5

 6

 7                             FACTUAL ALLEGATIONS
 8
           13.    At all pertinent times hereto, Defendant was hired to collect a
 9
     consumer debt and attempted to collect that debt from Plaintiff.
10

11        14.     Defendant collects, and attempts to collect, debts incurred, or alleged
12
     to have been incurred, for personal, family, or household purposes on behalf of
13

14   creditors using the U.S. Mail, telephone and/or internet.
15
          15.     The alleged debt arose out of transactions primarily for personal,
16

17
     family, or household purposes.

18         16.    By way of background, beginning in or around late 2015, Defendant
19
     began placing repeated harassing telephone calls to Plaintiff’s cellular telephone
20

21   regarding an alleged medical debt.
22
           17.    Defendant’s calls originated from the numbers including, but not
23

24   limited to: (800) 888-2238. The undersigned has confirmed that this number
25
     belongs to Defendant.
26
           18.    In or around December 2015, and on numerous subsequent
27

28   occasions in 2016, Plaintiff requested that Defendant stop calling.



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                                      PLAINTIFF’S COMPLAINT
           Case 7:17-cv-00013 Document 1 Filed on 01/13/17 in TXSD Page 4 of 9



 1          19.     However, Defendant continued to call Plaintiff through July 2016.
 2
            20.     Once Defendant was told the calls were unwanted and to stop, there
 3

 4   was no lawful purpose to making further calls, nor was there any good faith
 5
     reason to place further calls.
 6

 7          21.     Further, any continued calls could only have been for the purpose of
 8
     harassment.
 9
            22.     During this time, Defendant placed calls to Plaintiff using an
10

11   automated telephone dialing system and/or a prerecorded voice.
12
            23.     Plaintiff knew that Defendant was using an automated telephone
13

14   dialing system and/or a prerecorded voice as Plaintiff received automated calls
15
     that began with a pre-recorded message before the calls would be transferred to a
16

17
     live caller.

18          24.     Defendant also threatened to garnish Plaintiff’s wages during a
19
     conversation with Plaintiff.
20

21          25.     Upon information and belief, Defendant did not intend to take such
22
     action against Plaintiff.
23

24          26.     After Plaintiff’s requests to stop calling were ignored by Defendant,
25
     Plaintiff took necessary measures to block calls from Defendant’s phone number.
26

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                                      PLAINTIFF’S COMPLAINT
          Case 7:17-cv-00013 Document 1 Filed on 01/13/17 in TXSD Page 5 of 9



 1
                             COUNT I
 2          DEFENDANT VIOLATED §§ 1692d and d(5) OF THE FDCPA
 3
           27.    A debt collector violates § 1692d of the FDCPA by engaging n
 4

 5
     conduct the natural consequence of which is to harass, oppress, or abuse any

 6   person in connection with the collection of a debt.
 7
           28.    A debt collector violates § 1692d(5) of the FDCPA by causing a
 8

 9   telephone to ring or engaging any person in telephone conversation repeatedly or
10
     continuously with the intent to annoy, abuse, or harass any person at the called
11

12   number.
13
           29.    Defendant violated §§ 1692d and d(5) when it continued to call
14
     Plaintiff repeatedly after Plaintiff requested that these collection calls stop on
15

16   several occasions in 2015 and 2016.
17
                               COUNT II
18             DEFENDANT VIOLATED § 392.302(4) OF THE TFDCPA
19

20
           30.    A debt collector violates § 392.302(4) of the TFDCPA by causing a
21

22
     telephone to ring repeatedly or continuously, or making repeated or continuous

23   telephone calls, with the intent to harass a person at the called number.
24
           31.    Defendant violated § 392.302(4) of the Texas FDCPA when it
25

26   continued to call Plaintiff repeatedly after Plaintiff requested that these collection
27
     calls stop on several occasions in 2015 and 2016.
28




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                                      PLAINTIFF’S COMPLAINT
          Case 7:17-cv-00013 Document 1 Filed on 01/13/17 in TXSD Page 6 of 9



 1
                            COUNT III
 2     DEFENDANT VIOLATED §§ 1692e, 1692e(4), 1692e(5) AND 1692e(10)
                         OF THE FDCPA
 3

 4

 5
           32.    A debt collector violates § 1692e by using any false, deceptive, or

 6   misleading representation or means in connection with the collection of any debt.
 7
           33.    A debt collector violates § 1692e(4) by representing or implying
 8

 9   that nonpayment of any debt will result in the arrest or imprisonment of any
10
     person or the seizure, garnishment, attachment, or sale of any property or wages
11

12   of any person unless such action is lawful and the debt collector or creditor
13
     intends to take such action.
14
           34.    A debt collector violates § 1692e(5) by threatening to take any
15

16   action that cannot legally be taken or that is not intended to be taken.
17
           35.    A debt collector violates § 1692e(10) by use of any false
18

19   representation or deceptive means to collect or attempt to collect any debt or to
20
     obtain information concerning a consumer.
21

22
           36.    Defendant violated §§ 1692e, 1692e(4), 1692e(5) and 1692e(10)

23   when it threatened to garnish Plaintiff’s wages without the intent to take such
24
     action and without taking such action.
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                                     PLAINTIFF’S COMPLAINT
           Case 7:17-cv-00013 Document 1 Filed on 01/13/17 in TXSD Page 7 of 9



 1
                                  COUNT IV
 2                       DEFENDANT VIOLATED THE TCPA
 3
           36.      Plaintiff incorporates the forgoing paragraphs as though the same
 4

 5
     were set forth at length herein.

 6         37.      Defendant initiated automated calls to Plaintiff using an automatic
 7
     telephone dialing system.
 8

 9         38.      Defendant’s calls to Plaintiff were not made for emergency
10
     purposes.
11

12         39.      Defendant’s calls to Plaintiff beginning in January 2016 and
13
     continuing through July 2016 were not made with Plaintiff’s prior express
14
     consent.
15

16         40.      Defendant’s acts as described above were done with malicious,
17
     intentional, willful, reckless, wanton and negligent disregard for Plaintiff’s rights
18

19   under the law and with the purpose of harassing Plaintiff.
20
           41.      The acts and/or omissions of Defendant were done unfairly,
21

22
     unlawfully, intentionally, deceptively and fraudulently and absent bona fide error,

23   lawful right, legal defense, legal justification or legal excuse.
24
           42.      As a result of the above violations of the TCPA, Plaintiff has
25

26   suffered the losses and damages as set forth above entitling Plaintiff to an award
27
     of statutory, actual and trebles damages.
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                                                   7
                                        PLAINTIFF’S COMPLAINT
          Case 7:17-cv-00013 Document 1 Filed on 01/13/17 in TXSD Page 8 of 9



 1        WHEREFORE, Plaintiff, DONALD WILSON, respectfully prays for a
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     judgment as follows:
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 4               a.    All actual damages suffered pursuant to 15 U.S.C. §
 5
                       1692k(a)(1);
 6

 7               b.    Statutory damages of $1,000.00 for the violation of the
 8
                       FDCPA pursuant to 15 U.S.C. § 1692k(a)(2)(A);
 9
                 c.    All attorneys’ fees, witness fees, court costs and other
10

11                     litigation costs incurred by Plaintiff pursuant to 15 U.S.C. §
12
                       1693k(a)(3);
13

14               d.    All reasonable attorneys’ fees, witness fees, court costs and
15
                       other litigation costs incurred by Plaintiff pursuant to 15
16

17
                       U.S.C. § 1693k(a)(3) and Tex. Fin. Code § 392.403(b);

18               e.    Statutory damages of $500.00 for each violation of the TCPA,
19
                       pursuant to 47 U.S.C. §227(c)(5)(B);
20

21               f.    Treble damages of $1,500.00 per violative telephone call
22
                       pursuant to 47 U.S.C. §227(b)(3);
23

24               g.    Injunctive relief pursuant to 47 U.S.C. § 227(b)(3)
25
                 h.    Any other relief deemed appropriate by this Honorable Court.
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                                   PLAINTIFF’S COMPLAINT
        Case 7:17-cv-00013 Document 1 Filed on 01/13/17 in TXSD Page 9 of 9



 1                                   RESPECTFULLY SUBMITTED,
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 3
     Dated: January 13, 2017         KIMMEL & SILVERMAN, P.C.
 4

 5
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 8
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                               PLAINTIFF’S COMPLAINT
